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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                      Plaintiffs,                      Civil Action No. 1:09CV597 (LMB/TCB)
                 v.

 Joseph C. Loomis and Jenni M. Loomis,

                      Defendants.


                      PLAINTIFFS’ MOTION FOR SANCTIONS
                     AGAINST DEFENDANT JOSEPH C. LOOMIS
               DUE TO HIS INTENTIONAL DESTRUCTION OF EVIDENCE

        Plaintiffs Intersections Inc. and Net Enforcers, Inc. (collectively, “Plaintiffs”), for the

 reasons stated in the accompanying Memorandum of Law, respectfully move this Court for entry

 of an Order (1) granting Plaintiffs a default judgment against Defendant Joseph C. Loomis for all

 claims asserted by Plaintiffs against him, (2) dismissing Defendant Joseph C. Loomis’

 counterclaims against Plaintiffs with prejudice, (3) awarding Plaintiffs their attorneys’ fees and

 costs incurred in bringing this Motion, and (4) granting such other and further relief the Court

 deems proper.

 Dated: January 13, 2010                       Respectfully submitted,


                                               By:       /s/
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of January, 2010, I will electronically file the

 foregoing Plaintiffs’ Motion for Sanctions Against Defendant Joseph C. Loomis Due To His

 Intentional Destruction of Evidence with the Clerk of the Court using the CM/ECF system,

 which will then send a notification of such filing (NEF) to the following:

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